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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION
                                      CHICAGO


 MICHAEL MCNULTY,                       )
                                        )              Case No. 1:19-cv-7496-JZL
          Plaintiff,                    )
                                        )
          v.                            )
                                        )
 INTERNAL REVENUE SERVICE,              )
                                        )
          Defendant.                    )
 _______________________________________)

            DEFENDANT’S MOTION TO DISMISS, OR ALTERNATIVELY,
                    MOTION FOR SUMMARY JUDGMENT

       The Defendant, the Internal Revenue Service (Service), moves to dismiss this case, or

alternatively, for summary judgment, as there is no genuine dispute of material fact that Plaintiff

Michael McNulty failed to exhaust his administrative remedies by submitted an appeal to the

Service under the Freedom of Information Act or by submitting a proper request to the Service

under the Privacy Act. Therefore, the Service asks this Court to dismiss this case with prejudice.


Dated: February 21, 2020                             RICHARD E. ZUCKERMAN
                                                     Principal Deputy Assistant Attorney General

                                                     JOHN R. LAUSCH, JR.
                                                     United States Attorney

                                                     /s/ Emily K. Miller
                                                     EMILY K. MILLER
                                                     Trial Attorney, Tax Division
                                                     U.S. Department of Justice
                                                     P.O. Box 227
                                                     Washington, D.C. 20044
                                                     202-353-7509 (v)
                                                     202-514-6866 (f)
                                                     Emily.K.Miller@usdoj.gov
     Case: 1:19-cv-07496 Document #: 17 Filed: 02/21/20 Page 2 of 2 PageID #:59




                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of February, 2020, I electronically filed the

foregoing document with the Clerk of Court using the CM/ECF system, which will send

notification to all parties registered to receive such filing. Additionally, I hereby certify that on

the same date I have e-mailed and mailed the document by United States Postal Service to the

following non-CM/ECF participants:


       Michael McNulty
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       Chicago, Illinois 60661
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                                               /s/ Emily K. Miller
                                               EMILY K. MILLER
                                               Trial Attorney
                                               United States Department of Justice, Tax Division




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